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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA
                                                                No. 21-cr-399 (RDM)
                  Plaintiff,
     v.

     ROMAN STERLINGOV

                  Defendant.




      DEFENDANT’S MOTION TO EXCLUDE ANY TESTIMONY ABOUT DEEPWEB
                             MARKETPLACES


           Roman Sterlingov, by and through undersigned counsel, moves this Court to enter an

Order excluding any evidence about deepweb marketplaces.1 Almost all the deepweb

marketplaces were shut down outside the statute of limitations, their operation is irrelevant to the

question of whether Mr. Sterlingov actually operated Bitcoin Fog, their inclusion in evidence –

to the extent that they are relevant at all – is far more prejudicial than probative, and the

Government has yet to identify a single conspiratorial communication between Mr. Sterlingov

and anyone.

                                                     FACTS

           Mr. Sterlingov was arrested on April 27, 2021, and has remained in pretrial custody

since.

           On December 8, 2022, FBI Staff Operations Specialist Luke Scholl produced his expert

report to this Court and opposing counsel in anticipation of the hearing on the release of Mr.




1
    The Government uses the prejudicial term “Darknet”.
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Sterlingov’s funds and the Daubert hearings.2 In it, Mr. Scholl states the end dates of various

deepweb marketplaces that the Government alleges are co-conspirators with Mr. Sterlingov.

Almost all of the deepweb marketplaces listed in the Government’s Notice of Bill of Particulars

(Dkt. 173) were shut down well outside the statute of limitations.

        Silk Road was shut down in October 2013.3

        Silk Road 2.0 was shut down in November 2014.4

        Agora was shut down in August 2015.5

        Nucleus was shut down in April 2016.6

        Abraxas was shut down in November 2015.7

        Pandora was shut down in December 2013.8

        Sheep was shut down in December 2013.9

        BlackBank was shut down in May 2015.10




2
  Virtual Asset Analysis, United States of America v. Roman Sterlingov, Staff Operations Specialist Luke Scholl,
FBI (Dec. 8, 2022) (“Scholl Report”) (admitted into evidence at the Daubert hearing on June 23, 2023, as Govt. Ex.
2).
3
  See, e.g., Scholl Report, p. 12 (“Silk Road was taken down by law enforcement in October 2013.”); see also,
https://www.ice.gov/news/releases/ross-ulbricht-aka-dread-pirate-roberts-sentenced-life-federal-prison-creating
4
  See, e.g., Scholl Report, p. 13 (“SILK ROAD 2.0 was shut down by law enforcement in November 2014.”); see
also, https://www.reuters.com/article/idUSKBN0IQ1UV/
5
  See, e.g., Scholl Report, p. 14 (“The site’s administrators shutdown the platform 2015.”); see also,
https://www.coindesk.com/markets/2015/08/26/dark-market-agora-shuts-down-citing-security-threat/
6
  See, e.g., Scholl Report, p. 14 (“The site went offline in 2016…[the Nucleus] transactions occurred from on or
about 12/1/2014 to on or about 4/12/2016”); see also, https://www.vice.com/en/article/mg7bgq/dark-web-market-
disappears-users-migrate-in-panic-circle-of-life-continues
7
  See, e.g., Scholl Report, p. 15 (“The site shutdown in 2015…[the Abraxas] transactions occurred from on or about
1/29/2015 to on or about 11/6/2015.”); see also, https://news.bitcoin.com/dormant-144m-in-bitcoin-from-defunct-
abraxas-darknet-market-moved-after-years-of-inactivity/
8
  See, e.g., Scholl Report, p. 15-16 (“The site was shut down by law enforcement in 2014…[the Pandora]
transactions occurred from on or about 11/30/2013 to on or about 10/30/2014); see also,
https://www.dailydot.com/crime/pandora-deep-web-marketplace-hacked/
9
  See, e.g., Scholl Report, p. 16 (“The site shut down in 2013…[the Sheep] transactions occurred from on or about
10/9/2013 to on or about 12/1/2013); see also, https://thehackernews.com/2013/12/Sheep-Marketplace-scam-
Bitcoin-stolen-Silk-Road.html
10
   See, e.g., Scholl Report, p. 16-17 (“The site shutdown in 2015…[Black Bank] transactions occurred from on or
about 10/19/2013 to on or about 5/22/2015.”)
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        Evolution was shut down in March 2014.11

        Only two deepweb marketplaces were briefly in operation at any point in time during the

statute of limitations: AlphaBay and Welcome to Video. AlphaBay was shut down in July of

2017. AlphaBay’s administrator, and named co-conspirator, Alexandre Cazes was arrested in

Thailand on July 5, 2017, and subsequently committed suicide inside a Thai prison several days

later.12 The Government has not produced any communications between Mr. Cazes and Mr.

Sterlingov. Nor has the Government produced a single communication between Mr. Sterlingov

and any of the alleged co-conspirators listed in its Bill of Particulars.

        Welcome to Video, a site that dealt with child pornography, was shut down in May of

2018.13 According to the Scholl Report, no funds were sent from Bitcoin Fog to Welcome to

Video. 14 Mr. Scholl’s report claims that between July 25, 2015 and on or about May 25, 2017,

roughly $989 worth of Bitcoin went from Bitcoin Fog directly to Welcome to Video, and that

during this same period there were indirect transfers worth approximately $846.15 There is no

evidence of any communications between Welcome to Video and Mr. Sterlingov, nor is there

any evidence that Mr. Sterlingov possessed, or had anything to do with child pornography.

        The Government only lists the names of two alleged operators of deepweb marketplaces

– Ross Ulbricht, and Alexandre Cazes. Mr. Ulbricht was sentenced to life in prison without the

possibility of parole on May 29, 2015, well outside the statute of limitations. There are no

communications between Mr. Sterlingov and Mr. Ulbricht or Mr. Cazes anywhere in the

discovery.


11
   See, e.g., h#ps://www.wired.com/2015/03/evolu9on-disappeared-bitcoin-scam-dark-web/
12
   See, e.g., h#ps://www.washingtonpost.com/news/morning-mix/wp/2017/07/18/suspected-alphabay-founder-
dies-in-bangkok-jail-while-online-black-market-remains-closed/
13
   See, e.g., Scholl Report, p. 17 (“The site was taken down by international law enforcement in 2018”).
14
   See id, (“Blockchain analysis did not iden9fy any ﬂow of funds from Welcome to Video to Bitcoin Fog.”)
15
   See id.
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                                         LEGAL STANDARD

        Federal Rule of Evidence 401 states that “Evidence is relevant [only] if: (a) it has any

tendency to make a fact more or less probable that it would be without the evidence; and (b) the

fact is of consequence in determining the action.”

        Federal Rule of Evidence 403 states that “The court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.”

        The statute of limitations for 18 U.S.C § 1956(a)(3)(A), money laundering is five years.16

        The statute of limitations for 18 U.S.C § 1956(h), money laundering is five years.17

        The statute of limitations for 18 U.S.C § 1960(a), operating an unlicensed money

transmission business is five years.18

        The statute of limitations for 18 U.S.C § 1956(a)(3)(A), (B), money laundering is five

years.19

           The statute of limitations for 18 U.S.C § 1960(a) & 2, operating an unlicensed money

transmission business and aiding and abetting is five years.20

        The statute of limitations for D.C. Code § 26-1023(C), money transmission without a

license, is not explicitly stated in the municipal code, but is at most six years, as it is a felony for

which the statute of limitation is not otherwise mentioned.21




16
   See 18 U.S.C. § 3282(a).
17
   Id.
18
   Id.
19
   Id.
20
   Id.
21
   D.C. Code § 23-113(a)(4).
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                                            ARGUMENT

        The Government has not produced any communications between any of the alleged co-

conspirators and Mr. Sterlingov. To the extent that evidence related to the co-conspirators listed

in the Government’s Bill of Particulars is relevant, it is of conditional relevance at best. Before

the issue of money laundering through Bitcoin Fog by Mr. Sterlingov becomes relevant, the

Government needs to meet its burden of proof on the question of whether Mr. Sterlingov

operated Bitcoin Fog at all.

        Regardless, given the highly prejudicial nature of all evidence related to the deepweb

markets, this Court should exclude all such evidence as more prejudicial than probative under

Federal Rule of Evidence 403. This is particularly true of any evidence related to Welcome to

Video, to the extent it is relevant at all, as it relates to child pornography. Mr. Sterlingov is not

charged with possessing or dealing in child pornography, nor is there any evidence anywhere in

the discovery of anything related to it. The Government invokes Welcome to Video to inflame

the jury’s passions against Mr. Sterlingov by raising the unsupported allegation that he has

anything to do with such an abhorrent site.

        Despite seizing and analyzing all of Mr. Sterlingov’s electronic devices following his

arrest, the Government has not identified a single conspiratorial communication between Mr.

Sterlingov and anyone. Faced with a lack of evidence, the Government seeks to condemn Mr.

Sterlingov through guilt by association with co-conspirators that he never associated with and

there is no evidence that he ever associated with.

        The Government has not produced any communications identifying the commencement

of any alleged conspiracy. Allowing the Government to make these baseless allegations in front
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of the jury will unduly prejudice Mr. Sterlingov because of the public perception of these

deepweb markets.


                                        CONCLUSION

       For the foregoing reasons, this Court should exclude any testimony about deepweb

marketplaces as irrelevant under Federal Rule of Evidence 401, or in the alternative, under

Federal Rule of Evidence 403, because any such evidence is far more prejudicial than probative

given the Government’s complete lack of evidence relating to any conspiratorial agreement, to

say nothing of its lack of evidence showing Mr. Sterlingov ever operating Bitcoin Fog.
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Dated: February 8th, 2024
Brooklyn, New York


                                  Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of February 2024, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Michael Hassard

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